     Case 6:06-cr-00026-JRH-CLR Document 554 Filed 09/11/07 Page 1 of 1

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                                                          U.S .D,STRICT COUR T
                                                                    i ;%H DIV .
               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGI A

                      STATESBORO DIVISIO N



UNITED STATES OF AMERICA,          )

v.      )          Case No. CR606-026

CHARLES WILLIS,                    )

     Defendant .


                                ORDER

     After a careful de novo review of the record in this case, the Cour t

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed . Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court .

      SO ORDERED this J day of




                                         UNITED STATE ISTRICT JUDGE
                                         SOUTHERN DI RICT OF GEORGIA
